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                      UNITED STATES DISTRICT COURT
                           DISTRICT OF MAINE


   NATHANIEL-BISHOP                    )
   W. B.,                              )
                                       )
               Plaintiff               )
                                       )
        v.                             )     1:20-cv-00323-JAW
                                       )
  KILOLO KIJAKAZI,                     )
  Acting Commissioner of Social        )
  Security,                            )
                                       )
               Defendant               )


                ORDER AFFIRMING THE RECOMMENDED
                 DECISION OF THE MAGISTRATE JUDGE

        No objection having been filed to the Magistrate Judge’s Report and

  Recommended Decision filed September 12, 2021 (ECF No. 24), the Court

  accepts the Recommended Decision.

        The Court has reviewed and considered the Magistrate Judge’s

  Recommended Decision, together with the entire record; the Court has made a

  de novo determination of all matters adjudicated by the Magistrate Judge’s

  Recommended Decision; and the Court concurs with the recommendations of

  the United States Magistrate Judge for the reasons set forth in his

  Recommended Decision, and determines that no further proceeding is

  necessary.
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        Accordingly, it is ORDERED that the Recommended Decision (ECF No.

  24) of the Magistrate Judge is ACCEPTED and the Court AFFIRMS the

  Commissioner’s administrative decision.

        SO ORDERED.

                                 /s/ John A. Woodcock, Jr.
                                 JOHN A. WOODCOCK, JR.
                                 UNITED STATES DISTRICT JUDGE

  Dated this 2nd day of December, 2021




                                         2
